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                       UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF TEXAS
                                                                                  FILED: 5/29/20
                                                                              U.S. DISTRICT COURT
   CRAIG CUNNINGHAM,                                  §                     EASTERN DISTRICT COURT
   Plaintiff,                                         §                     DAVID A. O'TOOLE, CLERK
                                                      §
   v.                                                 §
                                                      § 4:20-cv-00145-SDJ-CAN
   4Bush Holdings, LLC
                                                      §
                                                      §
   Defendant                                          §
                                                      §




                                 Plaintiff’s Notice of Settlement




   1. The Plaintiff has settled with the defendants in this case.

   2. The Plaintiff requests the court give the parties 30 days to finalize all settlements and

        report back to the court if the parties are unable to setttle the claims between them.




                                      5/28/2020


   Craig Cunningham, Plaintiff, Pro-se 3000 Custer Road, ste 270-206, Plano, Tx 75075
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                      UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF TEXAS


   CRAIG CUNNINGHAM,                               §
   Plaintiff,                                      §
                                                   §
   v.                                              §
                                                   § 4:20-cv-00145-SDJ-CAN
   4Bush Holdings, LLC                             §
                                                   §
                                                   §
   Defendant                                       §




                               Plaintiff’s Certificate of Service


    I hereby certify a true copy of the foregoing was mailed and emailed to the attorney of

   record for the Defendants on 5/28/2020




                                     5/28/2020


   Craig Cunningham, Plaintiff, Pro-se 3000 Custer Road, ste 270-206, Plano, Tx 75075
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